                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                 No. 5:21-HC-02222-M


TARIQ EVERETTE,                                   )
                                                  )
                             Petitioner,          )
                                                  )
                                                                         ORDER
          V.                                      )
                                                  )
STATE OF NORTH CAROLINA,                          )
                                                  )
                             Respondent.          )


       On October 14, 2021, Tariq Everette ("petitioner"), a state inmate, filed pro se what the

court construed as a petition for a writ of habeas corpus under 28 U.S.C. § 2254. Pet. [D.E. 1].

On October 18, 2021, the court issued an order of deficiency 1) directing petitioner to re-file his

petition on the forms prescribed for use by the court, and 2) warning him that failure to correct this

deficiency within 21 days may result in dismissal of the action without prejudice for failure to

prosecute. Order [D.E. 3]. Although petitioner filed a declaration in support of his petition, see

[D.E. 5], petitioner has failed to correct the noted deficiency and the time to do so has passed.

       Accordingly, the court: DISMISSES WITHOUT PREJUDICE the action [D.E. 1] for

failure to prosecute; DENIES a Certificate of Appealability, see 28 U.S.C. § 2253(c); Miller-El v.

Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000); and

DIRECTS the clerk to close the case.

       SO ORDERED, this         /'('
                                       ttday ofNovember 2021.
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                                                              RICHARD E. MYERS II
                                                              Chief United States District Judge




           Case 5:21-hc-02222-M Document 6 Filed 11/15/21 Page 1 of 1
